Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 1 of 24 PageID #: 654




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


  CELLTRACE LLC,                                           Case No. 6:09-cv-294 (LED)

                 Plaintiff,

                 v.

  AT&T, INC., AT&T MOBILITY LLC f/k/a                      ALLTEL COMMUNICATIONS LLC’S
  CINGULAR WIRELESS LLC; T-MOBILE USA,                     FIRST AMENDED ANSWER TO
  INC.; ALLTEL CORPORATION; ALLTEL                         PLAINTIFF’S COMPLAINT,
  COMMUNICATIONS, LLC; ETEX TELEPHONE                      AFFIRMATIVE DEFENSES, AND
  COOPERATIVE INC.; ETEX                                   COUNTERCLAIMS
  COMMUNICATIONS, L.P.; SPRINT NEXTEL
  CORPORATION; SPRINT SPECTRUM L.P.;
  SPRINT COMMUNICATIONS COMPANY L.P.;
  NEXTEL OPERATIONS, INC.; NEXTEL WEST                     [JURY TRIAL DEMANDED]
  CORP.; NEXTEL OF CALIFORNIA, INC.; NEXTEL
  COMMUNICATIONS OF THE MID-ATLANTIC,
  INC.; NEXTEL OF NEW YORK, INC.; NEXTEL
  SOUTH CORP.; NEXTEL OF TEXAS, INC.;
  UNITED STATES CELLULAR CORPORATION;
  and CELLCO PARTNERSHIP d/b/a VERIZON
  WIRELESS,

                 Defendants.



  DEFENDANT ALLTEL COMMUNICATIONS LLC’S FIRST AMENDED ANSWER TO
   PLAINTIFF’S COMPLAINT, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS

           Defendant Alltel Communications, LLC (“Alltel Communications”), by way of First

  Amended Answer to Plaintiff’s Complaint, says:

                                         I. THE PARTIES

         1.      Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 1.




                                                  1
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 2 of 24 PageID #: 655




         2.      Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 2.

         3.      Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 3.

         4.      Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 4.

         5.      Alltel Communications refers to the Answer filed by Alltel Corporation at

  paragraph 5 and incorporates by reference the statements therein.

         6.      Alltel Communications admits that it is a Delaware limited liability company with

  its principal place of business at One Verizon Way, Basking Ridge, New Jersey 07920. The sole

  member of Alltel Communications is Alltel Corporation. On January 9, 2009, Cellco Partnership

  d/b/a Verizon Wireless (“Verizon Wireless”) acquired Alltel Corporation indirectly from Atlantis

  Holdings LLC pursuant to an Agreement and Plan of Merger. As a result of the acquisition,

  Alltel Corporation and its subsidiaries are indirect, wholly owned subsidiaries of Verizon

  Wireless.

         7.      Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 7.

         8.      Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 8.

         9.      Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 9.

         10.     Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 10.




                                                  2
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 3 of 24 PageID #: 656




         11.     Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 11.

         12.     Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 12.

         13.     Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 13.

         14.     Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 14.

         15.     Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 15.

         16.     Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 16.

         17.     Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 17.

         18.     Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 18.

         19.     Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 19.

         20.     Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 20.

         21.     Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 21.

         22.     Alltel Communications refers to the Answer filed by Verizon Wireless at

  paragraph 22 and incorporates by reference the statements therein.

                                                  3
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 4 of 24 PageID #: 657




                                  II. JURISDICTION & VENUE

         23.     Alltel Communications admits that this action for infringement purports to arise

  under the Patent Laws of the United States, Title 35, United States Code. Alltel

  Communications admits that this Court has jurisdiction over the subject matter based upon the

  Patent Laws of the United States, Title 35, United States Code, and by Title 28, United States

  Code, § 1331 and § 1338(a).

         24.     Paragraph 24 contains conclusions of law and not averments of fact to which an

  answer is required, but insofar as an answer may be deemed required, Alltel Communications

  admits only that based on the allegations in the Complaint, Alltel Communications is subject to

  the personal jurisdiction of this Court for this matter, and that venue may be established in this

  Court under 28 U.S.C. § 1391. Alltel Communications denies any remaining allegations

  contained in paragraph 24 to the extent they relate to Alltel Communications, refers to the

  Answers filed by Verizon Wireless and Alltel Corporation at paragraph 24 and incorporates by

  reference the statements therein, and lacks information sufficient to form a belief as to the truth

  of any remaining allegations in paragraph 24 to the extent they relate to other defendants.

         25.     Alltel Communications admits that it sells or offers for sale cellular telephones

  and cellular telephone services for communicating with Alltel Communications’ cellular

  network. Alltel Communications denies any remaining allegations contained in paragraph 25 to

  the extent they relate to Alltel Communications, refers to the Answers filed by Verizon Wireless

  and Alltel Corporation at paragraph 25 and incorporates by reference the statements therein, and

  lacks information sufficient to form a belief as to the truth of any remaining allegations in

  paragraph 25 to the extent they relate to other defendants.

                                  III. PATENT INFRINGEMENT




                                                    4
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 5 of 24 PageID #: 658




           26.    Alltel Communications admits that United States Patent No. 6,011,976 (“the ‘976

  patent”) states as its title “TELECOMMUNICATIONS SYSTEM WITH VALUE ADDED

  SERVICE DIRECTORY AND AN INTEGRATED CIRCUIT MODULE THEREFOR” and that

  Exhibit A to the Complaint appears to be a copy of the ‘976 patent. Alltel Communications

  admits that United States Patent No. 7,551,933 (“the ‘933 patent”) states as its title

  “TELECOMMUNICATIONS SYSTEM” and that Exhibit B to the Complaint appears to be a

  copy of the ‘933 patent. The remainder of paragraph 26 contains conclusions of law and not

  averments of fact to which an answer is required, but insofar as an answer may be deemed

  required, Alltel Communications lacks information sufficient to form a belief as to the truth of

  the allegations contained in paragraph 26.

           27.    Alltel Communications denies the allegations contained in paragraph 27 to the

  extent they relate to Alltel Communications, refers to the Answers filed by Verizon Wireless and

  Alltel Corporation at paragraph 27 and incorporates by reference the statements therein, and

  lacks information sufficient to form a belief as to the truth of the allegations in paragraph 27 to

  the extent they relate to other defendants.

                      COUNT I – INFRINGEMENT OF THE ‘976 PATENT

           28.    Alltel Communications repeats and re-asserts its responses to paragraphs 1-27

  above.

           29.    Alltel Communications lacks information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 29.

           30.    Paragraph 30 contains conclusions of law and not averments of fact to which an

  answer is required, but insofar as an answer may be deemed required, Alltel Communications

  lacks information sufficient to form a belief as to the truth of the allegations contained in

  paragraph 30.

                                                    5
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 6 of 24 PageID #: 659




                       COUNT II – INFRINGEMENT OF THE ‘933 PATENT

           31.     Alltel Communications repeats and re-asserts its responses to paragraphs 1-30

  above.

           32.     Alltel Communications denies the allegations contained in paragraph 32 to the

  extent they relate to Alltel Communications, refers to the Answers filed by Verizon Wireless and

  Alltel Corporation at paragraph 32 and incorporates by reference the statements therein, and

  lacks information sufficient to form a belief as to the truth of the allegations in paragraph 32 to

  the extent they relate to other defendants.

           33.     Paragraph 33 contains conclusions of law and not averments of fact to which an

  answer is required, but insofar as an answer may be deemed required, Alltel Communications

  denies the allegations contained in paragraph 33 to the extent they relate to Alltel

  Communications, refers to the Answers filed by Verizon Wireless and Alltel Corporation at

  paragraph 33 and incorporates by reference the statements therein, and lacks information

  sufficient to form a belief as to the truth of the allegations in paragraph 33 to the extent they

  relate to other defendants.

                                  IV. DEMAND FOR JURY TRIAL

           34.     Alltel Communications agrees with Celltrace’s demand for a jury trial.

           35.     To the extent not expressly admitted, Alltel Communications denies each and

  every allegation in the Complaint.

                                      V. PRAYER FOR RELIEF

           36.     Alltel Communications denies that Celltrace is entitled to any of the relief sought

  in its prayer for relief.




                                                    6
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 7 of 24 PageID #: 660




                                  VI. AFFIRMATIVE DEFENSES

                                 FIRST AFFIRMATIVE DEFENSE

            37.   The Complaint fails to state a claim upon which relief can be granted.

                               SECOND AFFIRMATIVE DEFENSE

            38.   The claims of the ‘933 patent are invalid and/or unenforceable under one or more

  provisions of Title 35, United States Code, including but not limited to 35 U.S.C. §§ 101, 102,

  103, and/or 112.

                                THIRD AFFIRMATIVE DEFENSE

            39.   Alltel Communications’ actions with respect to the use, sale or offer for sale of

  services or products or any other accused activity do not directly or indirectly infringe, contribute

  to the infringement or induce the infringement of any properly construed, valid and/or

  enforceable claims of the ‘933 patent.

                               FOURTH AFFIRMATIVE DEFENSE

            40.   As and for a separate affirmative defense, Alltel Communications alleges on

  information and belief that any claim for damages for patent infringement by Celltrace is limited

  by 35 U.S.C. § 287 to only those damages occurring after proper and sufficient notice of

  infringement to Alltel Communications.

                                 FIFTH AFFIRMATIVE DEFENSE

            41.   Celltrace’s claims are barred by equitable doctrines including the doctrine of

  laches.

                                 SIXTH AFFIRMATIVE DEFENSE

            42.   Celltrace’s claims for relief are barred and the asserted claims of the ‘933 patent

  are unenforceable due to prosecution laches. Celltrace submitted the claims that ultimately

  became the asserted ‘933 patent claims for prosecution on or after January 31, 2008, almost

                                                    7
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 8 of 24 PageID #: 661




  fifteen years after Celltrace’s asserted June 15, 1993 priority date. This delay was unreasonable

  and severely prejudicial to Alltel Communications.

         43.     In particular, Celltrace can cite no justification for why the asserted ‘933 claims

  were not presented and prosecuted in a more timely fashion. Moreover, Alltel Communications

  may be unable to locate and identify additional prior art that predates the filing of the patent

  application. Many of the prior art systems were widely used in the early 1990’s, but finding

  them and locating their supporting documentation today, twenty years later, is challenging

  because of Celltrace’s delay. Additionally, the revenues which Celltrace claims are subject to an

  infringement claim have been unnecessarily increased by the unreasonable delay.

         44.     Celltrace’s unreasonable delay constitutes prosecution laches that renders the ‘933

  patent unenforceable.

                               SEVENTH AFFIRMATIVE DEFENSE

         45.     Upon information and belief, one ore more asserted claims of the ‘933 patent is

  unenforceable due to inequitable conduct by or on behalf of Plaintiff or its representatives, or by

  or on behalf of a predecessor in interest of Plaintiff or its representatives, to the United States

  Patent and Trademark Office during the prosecution of the application for the ‘933 patent. Alltel

  Communications incorporates herein by reference the averments set forth below in the

  Counterclaim for Unenforceability Due to Inequitable Conduct.

         46.     Alltel Communications reserves the right to assert affirmatively any other matter

  that constitutes an affirmative defense under applicable laws and rules.




                                                     8
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 9 of 24 PageID #: 662




                                      VII. COUNTERCLAIMS

                                               The Parties

         47.     Based on assertions by Celltrace, Celltrace is a limited liability company

  organized and existing under the laws of the State of Texas with its principal places of business

  located in Newport Beach, California, and Frisco, Texas.

         48.     United States Patent No. 7,551,933 (“the ‘933 patent”) lists Celltrace as the sole

  assignee.

                                        Jurisdiction and Venue

         49.     This Court has subject matter over these Counterclaims pursuant to 28 U.S.C. §§

  1331, 1338, and 2201.

         50.     Celltrace is subject to the personal jurisdiction of this Court.

         51.     The minimum requisites for venue under 35 U.S.C. § 1391 exist in this district,

  but venue is more properly established in a district that would better serve the convenience of the

  witnesses and parties and the interests of justice.

                                  COUNTERCLAIM COUNT I
                              (Invalidity of U.S. Patent No. 7,551,933)

         52.     Alltel Communications realleges and incorporates by reference the allegations in

  paragraphs 1-50 above.

         53.     Celltrace has asserted that Alltel Communications infringes the ‘933 patent.

         54.     An actual controversy exists between Celltrace and Alltel Communications

  regarding the validity of the ‘933 patent.

         55.     All claims of the ‘933 patent are invalid for failing to meet one or more conditions

  for patentability set forth in 35 U.S.C. §§ 101, 102, 103, and/or 112.

                                  COUNTERCLAIM COUNT II
                          (Non-infringement of U.S. Patent No. 7,551,933)


                                                    9
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 10 of 24 PageID #: 663




          56.     Alltel Communications realleges and incorporates by reference the allegations in

   paragraphs 1-54 above.

          57.     Celltrace has asserted that Alltel Communications infringes the ‘933 patent.

          58.     An actual controversy exists between Celltrace and Alltel Communications

   regarding infringement of the ‘933 patent.

          59.     Alltel Communications has not infringed and does not infringe any valid,

   enforceable claim of the ‘933 patent literally, directly, contributorily, by way of inducement,

   and/or under the doctrine of equivalents.

                                  COUNTERCLAIM COUNT III
                            (Unenforceability Due to Prosecution Laches)

          60.     Alltel Communications realleges and incorporates by reference the allegations in

   paragraphs 1-58 above.

          61.     Celltrace has asserted that Alltel Communications infringes the ‘933 patent.

          62.     An actual controversy exists between Celltrace and Alltel Communications

   regarding the enforceability of the ‘933 patent.

          63.     Celltrace’s claims for relief are barred and the asserted claims of the ‘933 patent

   are unenforceable due to prosecution laches. Celltrace submitted the claims that ultimately

   became the asserted ‘933 patent claims for prosecution on or after January 31, 2008, almost

   fifteen years after Celltrace’s asserted June 15, 1993 priority date. This delay was unreasonable

   and severely prejudicial to Alltel Communications.

          64.     In particular, Celltrace can cite no justification for why the asserted ‘933 claims

   were not presented and prosecuted in a more timely fashion. Moreover, Alltel Communications

   may be unable to locate and identify additional prior art that predates the filing of the patent

   application. Many of the prior art systems were widely used in the early 1990’s, but finding



                                                      10
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 11 of 24 PageID #: 664




   them and locating their supporting documentation today, twenty years later, is challenging

   because of Celltrace’s delay. Additionally, the revenues which Celltrace claims are subject to an

   infringement claim have been unnecessarily increased by the unreasonable delay.

          65.        Celltrace’s unreasonable delay constitutes prosecution laches that renders the ‘933

   patent unenforceable.

                                   COUNTERCLAIM COUNT IV
                             (Unenforceability Due to Inequitable Conduct)

          66.        Alltel Communications realleges and incorporates by reference the allegations in

   paragraphs 1-65 above.

          67.        The ‘976 Patent and the ‘933 Patent are unenforceable due to inequitable conduct.

   On information and belief, one or more persons involved in the prosecution of the applications

   leading to these patents violated their duty of candor and good faith to the United States Patent

   and Trademark Office (the “PTO”) by intentionally and deceptively failing to disclose to the

   PTO information material to patentability of the ‘976 and the ‘933 Patents.

          68.        Alltel Communications asserts this inequitable conduct defense with respect to the

   ‘976 and the ‘933 Patents based on the information presently available to it. Because discovery

   is still in progress, Alltel Communications reserves the right to amend or supplement this defense

   as appropriate.

                          The ‘976 Patent - Failure to Disclose the GSM Standard

          69.        Wayne David Michaels, Anthony Richard Timson, and Aden William Dervan are

   the named inventors of the ‘976 Patent. They were personally involved in the prosecution of the

   ‘976 Patent application. Their signatures appear on an inventor declaration under 37 C.F.R. §

   1.63 in the prosecution history. In the declaration, Messrs. Michaels, Timson, and Dervan

   “acknowledge the duty to disclose information which is material to the examination of this



                                                     11
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 12 of 24 PageID #: 665




   application in accordance with Title 37, Code of Federal Regulations. §1.56(a).” Submission of

   Missing Parts of Application, February 13, 1996, at 2.

          70.     Richard C. Stevens was an attorney at the law firm formerly known as Killworth

   Gottman Hagan & Schaeff and is now an attorney at the law firm of Stevens & Showalter. Mr.

   Stevens was personally involved in the prosecution of the ‘976 Patent application. Mr. Stevens’

   signature appears on the application transmittal form and other communications with the PTO in

   the prosecution history.

          71.     On information and belief, one or more persons described in paragraphs 69-70

   above (collectively, “the ‘976 Applicants”), in breach of the duty of candor and good faith, and

   with intent to deceive the PTO, committed inequitable conduct during the prosecution of the

   ‘976 Patent application, which renders the ‘976 Patent unenforceable.

          72.     On information and belief, one or more of the ‘976 Applicants knew about, but

   never disclosed, material prior art during the prosecution of the ‘976 Patent application. More

   specifically, they knew about but intentionally and with deceptive intent failed to disclose

   material portions of the GSM Standard during the prosecution of the ‘976 Patent application,

   including at least GSM 2.17, 3.40, 3.41, and 11.11. Those portions of the GSM Standard were

   not considered by the PTO during prosecution of the ‘976 Patent application. Those portions of

   the GSM Standard were published before the alleged priority date of the ‘976 Patent.

          73.     The prior art portions of the GSM Standard the ‘976 Applicants failed to disclose

   to the PTO were material to patentability of the ‘976 Patent. The ‘976 Applicants referred

   repeatedly to “GSM system[s]” in the specification of the ‘976 Patent, because such systems

   based on the GSM Standard were highly relevant to the subject matter they sought to claim. In

   fact, the ‘976 Applicants stated that their alleged invention was “particularly applicable to global

   telecommunication systems in which the mobile cellular telephone networks of various countries

                                                    12
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 13 of 24 PageID #: 666




   or areas communicate using a common standard,” citing systems implementing the GSM

   Standard as the primary example of such a system. ‘976 Patent, Col. 2, ll. 46-49; see also e.g.,

   Figs. 1-2, and 4; Col. 3, ll. 10-14, 19-20, and 57-58. The ‘976 Applicants’ statements regarding

   the particular applicability of their alleged invention to a GSM system alone establishes the

   materiality of the prior art GSM Standard.

            74.      On information and belief, one or more of the ‘976 Applicants had knowledge of

   the GSM Standard described above. The ‘976 Patent itself suggested that GSM used a common

   standard. ‘976 Patent, Col. 2, ll. 46-51. As discussed above, the ‘976 Applicants also expressly

   suggested the applicability of their alleged invention to GSM systems. On information and

   belief, the ‘976 Applicants were familiar with the details of the GSM Standard, which described

   details highly relevant to the elements of Claims 2-5, 10-14, and 16-18 of the ‘976 Patent.

            75.      During the prosecution of the ‘976 Patent application, the PTO found that no prior

   art of record satisfied the claims of the ‘976 Patent. However, at least under Celltrace’s apparent

   interpretations regarding the ‘976 Patent claims,1 the GSM Standard anticipates or renders

   obvious all of the elements of Claims 2-5, 10-14, and 16-18 as detailed in the Invalidity Chart for

   the ‘976 Patent by the GSM Solution, attached as Exhibit 1 to Defendants’ Invalidity

   Contentions (“GSM Solution, Exhibit 1”). Because of these highly material teachings, at least

   under Celltrace’s apparent interpretations of the ‘976 Patent claims, if any of the ‘976 Applicants

   had submitted the GSM Standard to the examiner during the prosecution of the ‘976 Patent, the

   examiner would have found the ‘976 Patent’s claims unpatentable based on that prior art.

            76.      The GSM Standard is not cumulative of the prior art of record because none of

   that prior art was found by the PTO to anticipate the claims of the ‘976 Patent. Also, that prior

   1
    Nothing in this pleading is an admission by Alltel Communications that any of Plaintiff’s interpretations or
   allegations is correct.


                                                            13
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 14 of 24 PageID #: 667




   art does not teach the particular combinations identified in the GSM Solution, Exhibit 1. As the

   GSM Solution, Exhibit 1 demonstrates, the GSM Standard is material to patentability of at least

   Claims 2-5, 10-14, and 16-18 of the ‘976 Patent. Because of the high materiality of the GSM

   Standard, as evidenced by the GSM Solution, Exhibit 1, at least under Celltrace’s apparent

   interpretations regarding the ‘976 Patent claims, the PTO would have found Claims 2-5, 10-14,

   and 16-18 unpatentable had it known of the GSM Standard.

          77.     Applicants’ familiarity with the GSM Standard, along with the high materiality of

   that reference as set forth in the GSM Solution, Exhibit 1, demonstrates that one or more of the

   ‘976 Applicants intended to withhold the GSM Standard during the prosecution of the ‘976

   Patent application, and did so with intent to deceive the PTO. This intentional and deceptive

   withholding constitutes inequitable conduct that renders the ‘976 Patent unenforceable.

                        The ‘933 Patent - Related Applications Unenforceable

          78.     As described in paragraphs 69-77 above, on information and belief, one or more

   persons involved in the prosecution of the ‘976 Patent application, in breach of the duty of

   candor and good faith, and with intent to deceive the PTO, committed inequitable conduct during

   the prosecution of the ‘976 Patent application. This inequitable conduct renders the ‘933 Patent

   unenforceable because the ‘933 Patent is a child of the ‘976 Patent.

       The ‘933 Patent - Failure to Disclose GSM 2.17 and Other Portions of the GSM Standard

          79.     Wayne David Michaels, Anthony Richard Timson, and Aden William Dervan are

   the named inventors of the ‘933 Patent. They were personally involved in the prosecution of the

   ‘933 Patent application. Their signatures appear on an inventor declaration under 37 C.F.R. §

   1.63 in the prosecution history. In that declaration, Messrs. Michaels, Timson, and Dervan

   “acknowledge the duty to disclose information which is material to the examination of this

   application in accordance with Title 37, Code of Federal Regulations. §1.56(a).”

                                                   14
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 15 of 24 PageID #: 668




          80.     Richard C. Stevens is an attorney at the law firm of Stevens & Showalter. Mr.

   Stevens was personally involved in the prosecution of the ‘933 Patent application. Mr. Stevens’

   signature appears on the application transmittal form and other communications with the PTO in

   the prosecution history.

          81.     Robert O. Groover, III, is an attorney at the law firm of Groover & Associates.

   Mr. Groover was personally involved in the prosecution of the ‘933 Patent application. Mr.

   Groover’s signature appears on several communications with the PTO in the prosecution history

   of the ‘933 patent.

          82.     On information and belief, one or more persons described in paragraphs 79-81

   above (collectively, “the ‘933 Applicants”), in breach of the duty of candor and good faith, and

   with intent to deceive the PTO, committed inequitable conduct during the prosecution of the

   ‘933 Patent application, which renders the ‘933 Patent unenforceable.

          83.     On information and belief, one or more of the ‘933 Applicants knew about, but

   never disclosed, material prior art during the prosecution of the ‘933 Patent application. More

   specifically, they knew about but intentionally and with deceptive intent failed to disclose

   material portions of the GSM Standard during the prosecution of the ‘933 Patent application,

   including GSM 2.17, entitled “Subscriber Identity Module Functional Characteristics.” The ‘933

   Applicants also failed to disclose GSM 2.01, 2.03, 2.06, 2.07, 2.30, 3.02, 4.01, 4.02, 4.03, 4.05,

   4.06, 4.07, 4.08, 4.11, 4.22, and 7.01, all of which are material, non-cumulative portions of the

   GSM Standard. Those portions of the GSM Standard were not considered by the PTO during

   prosecution of the ‘976 Patent. Those portions of the GSM Standard were published before the

   alleged priority date of the application to which the ‘933 Patent claims priority.

          84.     The prior art GSM Standard that the ‘933 Applicants failed to disclose to the PTO

   was material to the patentability of the ‘933 Patent. The ‘933 Applicants referred repeatedly to

                                                    15
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 16 of 24 PageID #: 669




   “GSM system[s]” in the specification of the ‘933 Patent, because such systems based on the

   GSM Standard were highly relevant to the subject matter they sought to claim. In fact, the ‘933

   Applicants stated that their alleged invention was “particularly applicable to global

   telecommunication systems in which the mobile cellular telephone networks of various countries

   or areas communicate using a common standard,” citing GSM as the primary example of such a

   system. ‘933 Patent, Col. 2, ll. 45-51; see also, e.g., Figs. 1-2, and 4; Col. 3, ll. 11-13, 25-26, and

   64-65. The ‘933 Applicants’ statements regarding the particular applicability of their alleged

   invention to a GSM system alone establishes the materiality of the prior art undisclosed portions

   of the GSM Standard.

          85.     The materiality of the undisclosed portions of the GSM Standard is also

   evidenced by their clear relation to the asserted claims. In particular, Claims 1-14, 16, and 20 of

   the ‘933 Patent are directed to a GSM-compatible telecommunications network. The

   undisclosed portions of the GSM Standard also relate to a GSM-compatible telecommunications

   network, confirming the materiality of that art.

          86.     On information and belief, one or more of the ‘933 Applicants had knowledge of

   the GSM Standard. Applicants expressly suggested the applicability of their alleged invention to

   GSM systems. On information and belief, the ‘933 Applicants were familiar with the details of

   the GSM Standard, which described the operation of the cited GSM systems, including the

   details of that prior art highly relevant to elements of Claims 1-14, and 16-20 of the ‘933 Patent.

          87.     During the prosecution of the ‘933 Patent application, the PTO found that no prior

   art of record satisfied the claims of the ‘933 Patent. However, at least under Celltrace’s apparent

   interpretations regarding the ‘933 Patent claims, the undisclosed GSM Standard anticipates or

   renders obvious all of the elements of Claims 1-14 and 16-20 as detailed in the Invalidity Chart

   for the ‘933 Patent by the GSM Solution, attached as Exhibit 2 to Defendants’ Invalidity

                                                      16
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 17 of 24 PageID #: 670




   Contentions (“GSM Solution, Exhibit 2”). Because of these highly material teachings, at least

   under Celltrace’s apparent interpretations of the ‘933 Patent claims, if any of the ‘933 Applicants

   had submitted the undisclosed portions of the GSM Standard to the examiner during the

   prosecution of the ‘933 Patent application, the examiner would have found the ‘933 Patent’s

   claims unpatentable based on that prior art.

          88.     The undisclosed portions of the GSM Standard are not cumulative of the prior art

   of record because none of that prior art was found by the PTO to anticipate the claims of the ‘933

   Patent. Also, that prior art does not teach the particular combinations identified in the GSM

   Solution, Exhibit 2. As the GSM Solution, Exhibit 2 demonstrates, the undisclosed portions of

   the GSM Standard are material to patentability of at least Claims 1-14 and 16-20 of the ‘933

   Patent. Because of the high materiality of the undisclosed portions of the GSM Standard, as

   evidenced by the GSM Solution, Exhibit 2, at least under Celltrace’s apparent interpretations

   regarding the ‘933 Patent claims, the PTO would have found Claims 1-14 and 16-20 of the ‘933

   Patent unpatentable had it known of those publications.

          89.     The ‘933 Applicants’ familiarity with the undisclosed portions of the GSM

   Standard, along with the high materiality of those references as set forth in the GSM Solution,

   Exhibit 2, demonstrates that one or more of the ‘933 Applicants intended to withhold those

   references during the prosecution of the ‘933 Patent application, and did so with intent to deceive

   the PTO. This intentional and deceptive withholding constitutes inequitable conduct that renders

   the ‘933 Patent unenforceable.

                   The ‘933 Patent - Failure to Disclose GSM 3.40 Publication Date

          90.     Robert O. Groover, III, is an attorney at the law firm of Groover & Associates.

   Mr. Groover was personally involved in the prosecution of the ‘933 Patent application. Mr.

   Groover’s signature appears on several communications with the PTO in the prosecution history.

                                                   17
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 18 of 24 PageID #: 671




          91.     On February 14, 2008, Mr. Groover submitted an Information Disclosure

   Statement (“IDS”) to the PTO. In the IDS, Mr. Groover cited GSM 3.40, Version 3.5.0. This

   version of GSM 3.40 was published in 1992, and this date is prominently displayed on the cover

   page of that publication. However, Mr. Groover failed to provide the date of this reference in the

   IDS or at any later time to the PTO.

          92.     On page 2 of the office action dated April 24, 2008, the prosecuting examiner

   advised Mr. Groover that “The information disclosure statement filed on 2/14/2008 fails to

   comply with the provisions of 37 CFR 1.97, 1.98 and MPEP § 609 because some of the cited

   documents (namely, documents no. 5, 6, 10, and 11) do not have their corresponding publication

   dates. It has been placed in the application file, but the information referred to therein has not

   been considered as to the merits.”

          93.     On May 6, 2009, the prosecuting examiner issued a Notice of Allowance. In the

   attached statements, the examiner noted that “some of the cited documents were not provided

   with their publication dates.” The Notice of Allowance included a revised copy of the IDS,

   wherein the examiner indicated that GSM 3.40, Version 3.5.0 was not considered during

   prosecution. On June 23, 2009, the PTO issued the ‘933 Patent; however, GSM 3.40 is not listed

   as a cited reference in the issued patent.

          94.     On information and belief, Mr. Groover, in breach of the duty of candor and good

   faith, and with intent to deceive the PTO, committed inequitable conduct during the prosecution

   of the ‘933 Patent application, which renders the ‘933 Patent unenforceable.

          95.     On information and belief, Mr. Groover knew that GSM 3.40 was published in

   1992. GSM 3.40 was published before the alleged priority date of the ‘933 Patent. On

   information and belief, Mr. Groover purposefully failed to disclose the publication of GSM 3.40

   with the intent to mislead the PTO. As a result, Mr. Groover knew that it had not been

                                                    18
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 19 of 24 PageID #: 672




   considered by the prosecuting examiner and, upon information and belief, intended for it not to

   be considered by the examiner. Otherwise, having been twice notified of the deficiency, Mr.

   Groover could have, at a minimum, filed a Request for Continued Examination, submitted the

   date for GSM 3.40, and allowed for the reference to be considered by the examiner.

          96.     For the same reasons as discussed in paragraphs 84-85 above, the materiality of

   GSM 3.40 is demonstrated by the repeated referrals to GSM systems in the specification of the

   ‘933 Patent and by the relation between GSM 3.40 and the asserted claims. Alltel

   Communications realleges and incorporates by reference the allegations of paragraphs 84-85 as

   though fully set forth herein.

          97.     During the prosecution of the ‘933 Patent application, the PTO found that no prior

   art of record satisfied the claims of the ‘933 Patent. However, at least under Celltrace’s apparent

   interpretations regarding the ‘933 Patent claims, GSM 3.40 anticipates or renders obvious all of

   the elements of Claims 1-14 and 16-20 as detailed in the GSM Solution, Exhibit 2. Because of

   these highly material teachings, at least under Celltrace’s apparent interpretations of the ‘933

   Patent claims, if Mr. Groover had submitted the publication date of GSM 3.40 to the examiner

   during the prosecution of the ‘933 Patent, the examiner would have found the ‘933 Patent’s

   claims unpatentable based on that prior art.

          98.     GSM 3.40 is not cumulative of the prior art of record because none of that prior

   art was found by the PTO to anticipate the claims of the ‘933 Patent. Also, that prior art does not

   teach the particular combinations identified in the GSM Solution, Exhibit 2. As Exhibit 2

   demonstrates, GSM 3.40, the features of which, on information and belief, Mr. Groover had

   knowledge, is material to patentability of at least Claims 1-14 and 16-20 of the ‘933 Patent.

   Because of the high materiality of GSM 3.40, as evidenced by the GSM Solution, Exhibit 2, at

   least under Celltrace’s apparent interpretations regarding the ‘933 Patent claims, the PTO would

                                                    19
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 20 of 24 PageID #: 673




   have found Claims 1-14 and 16-20 of the ‘933 Patent unpatentable had it considered the

   publication.

          99.     Applicants’ knowledge of the publication date of GSM 3.40, along with the high

   materiality of this reference as set forth in the GSM Solution, Exhibit 2, demonstrates that Mr.

   Groover intended to withhold the publication date of this reference during the prosecution of the

   ‘933 Patent application, and did so with intent to deceive the PTO. This intentional and

   deceptive withholding constitutes inequitable conduct that renders the ‘933 Patent unenforceable.

                    The ‘933 Patent - Intentional and Deceptive Misrepresentations

          100.    C. Scott Talbot is an attorney at the law firm of Cooley Goodward Kronish LLP.

   Mr. Talbot was personally involved in the prosecution of the ‘933 Patent Application. Mr.

   Talbot’s signature appears on several communications with the PTO in the prosecution history.

          101.    On page 18 of the September 25, 2005 amendment and response to office action

   filed during prosecution of the ‘933 Patent Application, Mr. Talbot represented to the PTO that

   in the prior art: “All message processing was handled by the handset. This is evidenced by the

   GSM standard in effect at the time of the priority filing date of the present application (June

   1994). This standard (GSM 11.11 version 3.10.0 February 1992) was the only standard

   applicable to telecommunications systems with removable modules.” Contrary to Mr. Talbot’s

   representation to the PTO, however, many other prior art GSM standards documents, including

   one or more of the withheld standards documents referenced above, were applicable to

   telecommunications systems with removable modules.

          102.    On page 18 of the September 25, 2005 amendment and response to office action

   filed during prosecution of the ‘933 Patent Application, Mr. Talbot characterized the GSM prior

   art by representing that: “It was not until 1996 that the [GSM] standards were amended to allow

   for the messaging conduit to include programming information and for this functionality to

                                                    20
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 21 of 24 PageID #: 674




   provided [sic] in the SIM. At the time the invention was made, the relevant standard not only

   specified a single format for messaging, it provided that the handset reads and analyzes header

   information in such messages.” Contrary to Mr. Talbot’s representation to the PTO, however,

   the prior art portions of the GSM Standard, including one or more of the undisclosed portions of

   the GSM Standard described above, disclosed messaging conduits that included programming

   information and also specified multiple formats for messaging.

          103.    On pages 2-3 of the March 13, 2007 arguments in support of pre-appeal brief

   request for review filed during prosecution of the ‘933 Patent Application, Mr. Talbot

   represented to the PTO that: “Further, the Examiner seems to apply the present state of the art,

   instead of the appropriate state of the art when the invention was made. At the time of the

   priority filing date for the current application, the only standard applicable to

   telecommunications systems with removable modules was the GSM standard. The relevant

   GSM standard (GSM 11.11 version 3.10.0 February 1992) specified a single format for

   messaging - there were no enhanced messages for communicating with the module.” Contrary to

   Mr. Talbot’s representation to the PTO, however, there were many other portions of the GSM

   Standard relevant to messaging, including one or more undisclosed portions of the GSM

   Standard described above.

          104.    On page 3 of the March 13, 2007 arguments in support of pre-appeal brief request

   for review filed during prosecution of the ’933 Patent Application, Mr. Talbot represented to the

   PTO that: “There was only one type of message (the SMS “text” message) and no analysis of the

   messages was performed in the module…. It was not until 1996, three years after the priority

   filing date, that the standards were amended to allow for the messaging conduit to include

   programming information and for this functionality to be provided to the SIM.” Contrary to Mr.

   Talbot’s representation to the PTO, however, there were other types of messages disclosed in the

                                                     21
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 22 of 24 PageID #: 675




   GSM Standard, including one or more of the withheld portions of the GSM Standard referenced

   above. Also, SMS messages in the GSM Standard were not limited to “text,” and the GSM

   Standard allowed for messaging conduits that included programming information.

          105.    On information and belief, Mr. Talbot, in breach of the duty of candor and with

   intent to deceive the PTO, committed inequitable conduct during the prosecution of the ‘933

   Patent Application, which renders the ‘933 Patent unenforceable. On information and belief, Mr.

   Talbot committed inequitable conduct by making material misrepresentations to the PTO during

   prosecution of the ‘933 Patent Application, with an intent to mislead or deceive the prosecuting

   examiner. On information and belief, Mr. Talbot knew that the representations described above

   were misleading. Furthermore, on information and belief, Mr. Talbot knew that the

   misrepresentations described above were highly material to patentability. Because of the high

   materiality of these misrepresentations, the PTO would have found at least Claims 1-14 and 16-

   20 of the ‘933 Patent unpatentable had Mr. Talbot not made those misrepresentations. Those

   intentional and deceptive misrepresentations constitute inequitable conduct that renders the ‘933

   Patent unenforceable.

                                    VIII. PRAYER FOR RELIEF

          WHEREFORE, Alltel Communications prays that this Court enter judgment:

           A.    dismissing the Complaint with prejudice and denying each and every prayer for

   relief contained therein;

           B.    declaring that none of the asserted claims of the ‘933 patent are directly or

   indirectly infringed by the use, sale or offer for sale of any of Alltel Communications’ services or

   products or any other activity attributable to Alltel Communications, either literally or under the

   doctrine of equivalents;




                                                    22
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 23 of 24 PageID #: 676




           C.     declaring that the asserted claims of the ‘933 patent are invalid and/or

   unenforceable;

           D.     declaring that this case is “exceptional” within the meaning of 35 U.S.C. § 285, and

   that all costs and expenses of this action, including reasonable attorneys’ fees, be awarded to

   Alltel Communications; and

           E.     granting Alltel Communications such further relief as this Court may deem

   necessary, just or proper.

                                  IX. DEMAND FOR JURY TRIAL

           In accordance with FED. R. CIV. P. 38(b), Alltel Communications demands a trial by jury

   on all issues so triable.

   Respectfully submitted,

   Dated: March 12, 2010                      By: /s/ Kevin P. Anderson, with permission
                                              by Michael E. Jones
                                                   Michael E. Jones
                                                   State Bar No. 10929400
                                                   mikejones@potterminton.com
                                                   POTTER MINTON
                                                   A Professional Corporation
                                                   110 N. College, Suite 500 (75702)
                                                   P.O. Box 359
                                                   Tyler, TX 75710
                                                   Tel: (903) 597-8311
                                                   Fax: (903) 593-0846

                                                    James H. Wallace, Jr. (pro hac vice)
                                                    jwallace@wileyrein.com
                                                    Kevin P. Anderson (pro hac vice)
                                                    kanderson@wileyrein.com
                                                    WILEY REIN LLP
                                                    1776 K Street NW
                                                    Washington, DC 20006
                                                    Tel: (202) 719-7000
                                                    Fax: (202) 719-7049

                                                    Counsel for Defendant Alltel Communications,
                                                    LLC

                                                    23
Case 6:09-cv-00294-RWS-JDL Document 138 Filed 03/14/10 Page 24 of 24 PageID #: 677




                                   CERTIFICATE OF SERVICE

          I hereby certify that all counsel of record who have consented to electronic service are

   being served with a copy of this document via the Court’s EM/ECF system per Local Rule CV-

   5(a)(3) on this 12th day of March 2010. Any other counsel of record will be served by first class

   U.S. mail on this same date.

                                                       /s/ Michael E. Jones
                                                       Michael E. Jones




                                                  24
